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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

      STATE OF LOUISIANA, STATE OF
      MISSOURI, et al.

                      Plaintiffs,

         v.                                                Case No. 3:22-cv-01213-TAD

      JOSEPH R. BIDEN, JR., in his official
      capacity as President of the United States, et
      al.,

                      Defendants.


                      PLAINTIFFS’ NOTICE OF FILING DEPOSITION
                    TRANSCRIPT AND EXHIBITS OF DANIEL KIMMAGE

          Plaintiffs State of Louisiana, State of Missouri, Dr. Jayanta Bhattacharya, Dr. Martin

   Kulldorff, Dr. Aaron Kheraity, Jim Hoft, and Jill Hines hereby give notice of filing the redacted

   certified deposition transcript and exhibits of the deposition of Daniel Kimmage. Attached to this

   Notice, redacted where necessary to comply with the Court’s protective order, are Exhibits 1-16

   from the deposition of Daniel Kimmage (labeled “Kimmage Ex. 1” to “Kimmage Ex. 16”), and

   the certified transcript of the deposition of Daniel Kimmage, also redacted where necessary to

   comply with the Court’s protective order.




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    Dated: March 4, 2023                            Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that, on March 4, 2023, I caused a true and correct copy of the foregoing

   to be filed by the Court’s electronic filing system, to be served by operation of the Court’s

   electronic filing system on counsel for all parties who have entered in the case.

                                                        /s/ Tracy Short




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